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                               United States District Court
                                Middle District of Florida
                                    Orlando Division

RARE BREED TRIGGERS, LLC, et al.,
        Plaintiffs,

v.                                                    Case No. 6:21-cv-1245-CEM-GJK

MERRICK GARLAND, in his official
capacity as Attorney General of the United
States, et al.,
              Defendants.
___________________________________________/

                               NOTICE OF UNAVAILABILITY

     COMES NOW, the undersigned counsel in the above-styled cause and files this Notice of

Unavailability and states as follows:


     1. That the undersigned counsel has COVID-19 and will be unavailable to attend any trial,
hearing, deposition, or any other matter scheduled during the time period of October 12, 2021 to
November 5, 2021.
     2. That there is no other attorney who would be in a position to attend any matter in the
undersigned counsel’s absence.
     3. That Opposing Counsel is hereby given notice that the undersigned objects to any matter
scheduled in this case for the period set forth in paragraph one (1) and hereby requests a
continuance if any matter is so scheduled during said time period.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing is true and correct and was served
on this _13_ day of Oct., 2021.

                                                    /s/Kevin C. Maxwell
                                                    KEVIN C. MAXWELL, ESQ.
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